                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF IOWA
                              EASTERN DIVISION

 UNITED STATES OF AMERICA,

                Plaintiff,                             No. CR23-2056-LTS-MAR

 vs.
                                                              ORDER
 DOUGLAS GILBERT UCHYTIL,

                Defendant.



         This matter is before me on a Report and Recommendation (R&R) in which the
Honorable Mark A. Roberts, United States Magistrate Judge, recommends that I deny in
part and hold in abeyance in part defendant Douglas Gilbert Uchytil’s motion (Doc. 14)
to dismiss the indictment under New York State Rifle & Pistol Ass’n, Inc. v. Bruen, 597
U.S. 1 (2022). Doc. 21. Neither party has filed objections.


                                    I.   BACKGROUND
         On September 20, 2023, the grand jury returned an indictment (Doc. 2) charging
Uchytil with one count of possession of firearms by a drug user in violation of 18 U.S.C.
§§ 922(g)(3) and 924(a)(8). On March 4, 2024, Uchytil filed a motion (Doc. 14) to
dismiss the indictment based on Bruen. The Government filed a resistance (Doc. 17) on
March 11, 2024, and Judge Roberts filed the R&R on April 1, 2024. Neither party filed
objections and the time for doing so has passed.


                             II.   APPLICABLE STANDARDS
         A district judge must review a magistrate judge’s R&R under the following
standards:




       Case 6:23-cr-02056-LTS-MAR        Document 22    Filed 04/23/24   Page 1 of 3
       Within fourteen days after being served with a copy, any party may serve
       and file written objections to such proposed findings and recommendations
       as provided by rules of court. A judge of the court shall make a de novo
       determination of those portions of the report or specified proposed findings
       or recommendations to which objection is made. A judge of the court may
       accept, reject, or modify, in whole or in part, the findings or
       recommendations made by the magistrate judge. The judge may also
       receive further evidence or recommit the matter to the magistrate judge with
       instructions.

28 U.S.C. § 636(b)(1); see also Fed. R. Crim. P. 59(b). Thus, when a party objects to
any portion of an R&R, the district judge must undertake a de novo review of that portion.
       Any portions of an R&R to which no objections have been made must be reviewed
under at least a “clearly erroneous” standard. See, e.g., Grinder v. Gammon, 73 F.3d
793, 795 (8th Cir. 1996) (noting that when no objections are filed “[the district court
judge] would only have to review the findings of the magistrate judge for clear error”).
As the Supreme Court has explained, “[a] finding is ‘clearly erroneous’ when although
there is evidence to support it, the reviewing court on the entire evidence is left with the
definite and firm conviction that a mistake has been committed.” Anderson v. City of
Bessemer City, 470 U.S. 564, 573 (1985) (quoting United States v. U.S. Gypsum Co.,
333 U.S. 364, 395 (1948)). However, a district judge may elect to review an R&R under
a more-exacting standard even if no objections are filed:
       Any party that desires plenary consideration by the Article III judge of any
       issue need only ask. Moreover, while the statute does not require the judge
       to review an issue de novo if no objections are filed, it does not preclude
       further review by the district judge, sua sponte or at the request of a party,
       under a de novo or any other standard.

Thomas v. Arn, 474 U.S. 140, 150 (1985).


                                  III.    DISCUSSION
       Because neither party objected to the R&R, I have reviewed it for clear error.
First, I agree with Judge Roberts that the plain text of the Second Amendment applies to

                                             2

    Case 6:23-cr-02056-LTS-MAR           Document 22     Filed 04/23/24    Page 2 of 3
Uchytil’s conduct. Second, I agree that Uchytil’s facial challenge to the constitutionality
of § 922(g)(3) fails for the reasons I explained in United States v. Cobbs, No. CR22-
4069-LTS, 2023 WL 8599708, at *3-4 (N.D. Iowa Dec. 12, 2023). Finally, I agree with
Judge Roberts’ conclusion that I cannot rule on Uchytil’s as-applied constitutional
challenge without first resolving factual issues related to his alleged offense at trial.
United States v. Turner, 842 F.3d 602, 605 (8th Cir. 2016). Based on my review of the
record, I find no error – clear or otherwise – in Judge Roberts’ recommendation.


                                 IV.      CONCLUSION
      For the reasons set forth herein:
      1.     I accept the Report and Recommendation (Doc. 21) without modification.
See 28 U.S.C. § 636(b)(1).
      2.     Pursuant to the Report and Recommendation (Doc. 21), Uchytil’s motion
(Doc. 14) to dismiss the indictment is denied except with regard to his as-applied
challenge to § 922(g)(3), which will be held in abeyance until trial.


      IT IS SO ORDERED this 23rd day of April, 2024.




                                          __________________________
                                          Leonard T. Strand
                                          United States District Judge




                                            3

    Case 6:23-cr-02056-LTS-MAR         Document 22      Filed 04/23/24    Page 3 of 3
